               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                          Plaintiff,              Case No. 16-CR-135-2-JPS
 v.

 MARQUISE D. JONES,

                          Defendant.                               ORDER

       On August 23, 2016, the government filed a two-count indictment

against the defendant for robbery, in violation of 18 U.S.C. §§ 1951(a) and 2,

and brandishing a firearm during the robbery, in violation of 18 U.S.C.

§§ 924(c)(1)(A)(ii) and 2. (Docket #11). On October 11, 2016, the parties filed

a plea agreement indicating that the defendant agreed to plead guilty to both

Counts of the Indictment. (Docket #23 at 1-2).

       The parties appeared before Magistrate Judge William E. Duffin on

October 28, 2016, to conduct a plea colloquy pursuant to Federal Rule of

Criminal Procedure 11. (Docket #32). The defendant entered a plea of guilty

as to Counts One and Two of the Indictment. Id. After cautioning and

examining the defendant under oath concerning each of the subjects

mentioned in Rule 11, Magistrate Duffin determined that the guilty plea was

knowing and voluntary, and that the offenses charged were supported by an

independent factual basis containing each of the essential elements of the

offenses. (Docket #32 and #33).

       Thereafter, Magistrate Duffin filed a Report and Recommendation

with this Court, recommending that: (1) the defendant’s pleas of guilty be

accepted; (2) that a presentence investigation report be prepared; and (3) that

the defendant be adjudicated guilty and have a sentence imposed


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accordingly. (Docket #33). Pursuant to General L. R. 72(c) (E.D. Wis.), 28

U.S.C.§ 636(b)(1)(B), and Federal Rules of Criminal Procedure 59(b) or 72(b)

if applicable, the parties were advised that written objections to that

recommendation, or any part thereof, could be filed within fourteen days of

the date of service of the recommendation.

       To date, no party has filed such an objection.

       The Court has considered Magistrate Duffin’s recommendation and,

having received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge William E. Duffin’s report and

recommendation (Docket #33) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 22nd day of November, 2016.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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